                                                                     1         John D. Fiero (CA Bar No. 136557)
                                                                               PACHULSKI STANG ZIEHL & JONES LLP
                                                                     2         150 California Street, 15th Floor
                                                                               San Francisco, California 94111-4500
                                                                     3         Telephone: 415.263.7000
                                                                               Facsimile: 415.263.7010
                                                                     4         E-mail: jfiero@pszjlaw.com

                                                                     5         Attorneys for Equity Owners
                                                                               Ross Sullivan and Kelleen Sullivan
                                                                     6

                                                                     7                                    UNITED STATES BANKRUPTCY COURT
                                                                                                          NORTHERN DISTRICT OF CALIFORNIA
                                                                     8
                                                                                                                        OAKLAND DIVISION
                                                                     9
                                                                           In re                                                              Case No.: 17-10065-RLE
                                                                    10
                                                                                     SVC,                                                     (Jointly Administered)
                                                                    11
                                                                                                                                              Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                              Debtor.
                                                                    12
                                                                                                                                              COMBINED PLAN AND
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                                                                        DISCLOSURE STATEMENT
                                            ATTORNEYS AT LAW




                                                                           In re                                                              PROPOSED BY SULLIVAN FAMILY
                                                                    14                                                                        (AUGUST 20, 2019)
                                                                                     SVP,
                                                                    15

                                                                    16                                        Debtor.                         DISCLOSURE STATEMENT HEARING
                                                                                                                                              Date:  September 24, 2019
                                                                    17                                                                        Time:  1:30 p.m.
                                                                                                                                              Place: 1300 Clay Street, Room 201
                                                                    18                                                                               Oakland, CA 94612
                                                                                                                                              Judge: The Hon. Roger L. Efremsky
                                                                    19

                                                                    20                                            PRELIMINARY STATEMENT

                                                                    21               Ross Sullivan and Kelleen Sullivan (collectively, the “Plan Proponents”) hereby offer this

                                                                    22     Combined Plan and Disclosure Statement (“Plan”) pursuant to the provisions of Chapter 11 of the

                                                                    23     Bankruptcy Code for the above-captioned chapter 11 debtors SVC and SVP (together, “Debtors”

                                                                    24     and, each individually, a “Debtor”). 1

                                                                    25               The Plan Proponents have asked the Bankruptcy Court to confirm the Plan, and to do so, if

                                                                    26     applicable, in accordance with the cramdown provisions of Section 1129(b) of the Bankruptcy Code.

                                                                    27

                                                                    28     1
                                                                            Capitalized terms in this Disclosure Statement which are not otherwise defined herein shall bear the definition and
                                                                           meaning ascribed to them in Article III of the Plan.

                                                                           DOCS_SF:101744.3 82168/001
                                                                         Case: 17-10065        Doc# 462        Filed: 08/20/19        Entered: 08/20/19 15:06:48             Page 1 of
                                                                                                                            32
                                                                     1                                                   ARTICLE I

                                                                     2              A.       Plan and Case Background

                                                                     3              The Bankruptcy Cases are jointly administered, and are pending before the United States

                                                                     4     Bankruptcy Court of the Northern District of California, Oakland Division (“Bankruptcy Court”),

                                                                     5     before the Honorable Roger L. Efremsky. The Estates have not been substantively consolidated, and

                                                                     6     will not be substantively consolidated through the Plan.

                                                                     7              This document contains information with respect to the Plan Proponents’ proposed plan of

                                                                     8     reorganization for each Debtor. The Plan classifications and treatments are effectively identical, so

                                                                     9     in the interests of economy and brevity, they will be described just once. Pursuant to section 1125 of

                                                                    10     the Bankruptcy Code, this document is being distributed to you for the purpose of enabling you to

                                                                    11     make an informed judgment about the Plan. The Plan Proponents have examined various
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12     alternatives and, based on information contained herein, and for the reasons set forth below, has
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13     concluded that the Plan provides the best recovery to creditors.
                                            ATTORNEYS AT LAW




                                                                    14              This document describes the Plan and contains information concerning, among other matters:

                                                                    15     (1) the history, business, property and liabilities of the Debtors; (2) significant events during the

                                                                    16     Bankruptcy Cases; (3) the proposed conclusion of the Estates pursuant to the terms of the Plan, and

                                                                    17     (4) the treatment and proposed distributions to holders of Allowed Claims against, and Allowed

                                                                    18     Interests in, the Debtors. The Plan Proponents request that you carefully review the contents of this

                                                                    19     document before making a decision to accept or reject the Plan. Particular attention should be paid

                                                                    20     to the provisions affecting or impairing your rights as a Creditor or Interest Holder.

                                                                    21              Your vote on the Plan is important. For the Plan to be accepted by a class of Claims, the

                                                                    22     holders of two-thirds in dollar amount and more than one-half in number of Allowed Claims in such

                                                                    23     class who vote on the Plan must vote to accept the Plan.

                                                                    24              Non-acceptance of the Plan may lead to a liquidation under chapter 7 of the Bankruptcy

                                                                    25     Code, or to the confirmation of another plan. To that end, the attached Exhibit 1 contains an

                                                                    26     analysis of how much Creditors and Interest Holders would likely receive in a chapter 7 liquidation.

                                                                    27     These alternatives may not provide for a distribution of as much value to holders of Allowed Claims

                                                                    28     and Allowed Interests as the Plan will, or provide that distribution as quickly. Accordingly, the Plan


                                                                           DOCS_SF:101744.3 82168/001                        2
                                                                         Case: 17-10065        Doc# 462    Filed: 08/20/19       Entered: 08/20/19 15:06:48       Page 2 of
                                                                                                                        32
                                                                     1     Proponents urge you to accept the Plan by completing and returning the enclosed ballot by no later

                                                                     2     than [INSERT DATE] at 5:00 p.m. (Pacific Time).

                                                                     3              B.       Information Regarding the Plan

                                                                     4                       1.         Sources of Information.

                                                                     5              Factual information, including all financial information contained herein, has been provided

                                                                     6     by the Plan Proponents, the Debtors (together with any chapter 11 trustee), their Professionals, or has

                                                                     7     been obtained from the Debtors’ records, except where otherwise specifically noted. None of the

                                                                     8     Plan Proponents’ attorneys, accountants or other Professionals make any representation regarding

                                                                     9     this information. The Plan Proponents are unable to represent or warrant that the information

                                                                    10     contained herein is free from any inaccuracy. The Plan Proponents have, however, attempted to

                                                                    11     present the information accurately and fairly, and believes that the information is substantially
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12     accurate. The assumptions underlying the projections contained herein concerning the sources and
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13     amounts of payments to Creditors and Interest Holders represent the Plan Proponents’ best estimates
                                            ATTORNEYS AT LAW




                                                                    14     as to what they expect will happen. Because these are only assumptions about or predictions of

                                                                    15     future events, many of which are beyond the Plan Proponents’ control, there can be no assurances

                                                                    16     that the assumptions will in fact materialize or that the projected realizations will in fact be met.

                                                                    17                       2.          Bankruptcy Court Approval.

                                                                    18              At the Confirmation hearing to be held on [INSERT DATE], the Bankruptcy Court will be

                                                                    19     asked to approve this document as containing information of a kind and in sufficient detail adequate

                                                                    20     to enable a hypothetical, reasonable investor to make an informed judgment about the Plan.

                                                                    21              C.       Voting Instructions

                                                                    22                       1.         How to Vote.

                                                                    23              A ballot is enclosed herewith for Creditors and Interest Holders entitled to vote to accept or

                                                                    24     reject the Plan. To vote on the Plan, indicate on the enclosed ballot whether you accept or you reject

                                                                    25     the Plan, and sign your name and mail the ballot in the envelope provided for this purpose.

                                                                    26              To be counted, ballots must be completed, signed and returned by United States Postal

                                                                    27     Service Mail so that they are received no later than [INSERT DATE] at 5:00 p.m. (Pacific Time)

                                                                    28     at the following address:


                                                                           DOCS_SF:101744.3 82168/001                             3
                                                                         Case: 17-10065           Doc# 462     Filed: 08/20/19        Entered: 08/20/19 15:06:48   Page 3 of
                                                                                                                            32
                                                                     1                                         SVC and SVP Plan Ballot Processing
                                                                                                                        c/o John D. Fiero
                                                                     2                                          Pachulski Stang Ziehl & Jones LLP
                                                                                                                 150 California Street, 15th Floor
                                                                     3                                            San Francisco, CA 94111-4500

                                                                     4     Do not send your ballot via facsimile or e-mail. If your ballot is not properly completed, signed and
                                                                     5     returned as described, it will not be counted. If your ballot is damaged or lost, you may request a
                                                                     6     replacement by sending a written request to the above address.
                                                                     7                       2.         Who May Vote.
                                                                     8              For each Debtor, the Plan divides the Claims of Creditors into three classes, and also includes
                                                                     9     one class of Interests. The classes are as follows: Class 1 (Secured Claims of Stephen A. Finn and
                                                                    10     Winery Rehabilitation, LLC), Class 2 (Trade Creditors), Class 3 (Claims of Non-Trade Unsecured
                                                                    11     Creditors), and Class 4 (Interest Holders).
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12              Classes of Creditors and Interest Holders that are impaired by the Plan are entitled to vote,
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13     unless no compensation or payment is provided for such class, in which event such class is
                                            ATTORNEYS AT LAW




                                                                    14     conclusively deemed to have rejected the Plan. Each holder of an Allowed Claim or Allowed
                                                                    15     Interest in an impaired class that will receive distributions under the Plan on account of such
                                                                    16     Allowed Claims or Allowed Interest may vote to accept or reject the Plan. A class is impaired if the
                                                                    17     legal, equitable or contractual rights attaching to the Claims or Interests of the class are modified,
                                                                    18     other than by curing defaults and reinstating maturities.
                                                                    19              Classes 1, 2, 3, and 4 are impaired under the Plan, and are entitled to vote on the Plan.
                                                                    20              In determining acceptances of the Plan, the vote of a Creditor will only be counted if
                                                                    21     submitted by a Creditor whose Claim is an Allowed Claim. Generally speaking, a Creditor holds an
                                                                    22     Allowed Claim if such Claim was duly scheduled by a Debtor as other than disputed, contingent or
                                                                    23     unliquidated, or the Creditor has timely filed with the Bankruptcy Court a proof of Claim which has
                                                                    24     not been objected to or disallowed prior to computation of the votes on the Plan. The Ballot form
                                                                    25     that you received does not constitute a proof of Claim.
                                                                    26              D.       Confirmation
                                                                    27              “Confirmation” is the technical phrase for the Bankruptcy Court’s approval of a plan of
                                                                    28     reorganization. At the Confirmation Hearing, in order to confirm the Plan, the Plan Proponents must


                                                                           DOCS_SF:101744.3 82168/001                           4
                                                                         Case: 17-10065           Doc# 462    Filed: 08/20/19       Entered: 08/20/19 15:06:48   Page 4 of
                                                                                                                           32
                                                                     1     demonstrate that he has met the requirements of section 1129 of the Bankruptcy Code. If the

                                                                     2     Bankruptcy Court determines that all of the requirements of section 1129 have been satisfied, the

                                                                     3     Bankruptcy Court will enter an order confirming the Plan. The Plan Proponents believe that the Plan

                                                                     4     satisfies all the statutory requirements of chapter 11 of the Bankruptcy Code for confirmation of the

                                                                     5     Plan.

                                                                     6              Voting is tabulated by class. As discussed above, a class of Creditors has accepted a plan of

                                                                     7     reorganization if the plan has been accepted by two-thirds (2/3) in dollar amount and more than one-

                                                                     8     half (1/2) in number of Creditors holding Allowed Claims in that class who actually vote to accept or

                                                                     9     reject such plan. A class of Interests has accepted a plan of reorganization if the plan has been

                                                                    10     accepted by Interest Holders holding at least two-thirds (2/3) in amount of Allowed Interests in that

                                                                    11     class who actually vote to accept or reject such plan.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12              Even if a class of Creditors or Interests votes against a plan of reorganization, the Plan may
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13     nevertheless be confirmed by the Bankruptcy Court, notwithstanding the rejection of the Plan by
                                            ATTORNEYS AT LAW




                                                                    14     such class, so long as certain statutory requirements are met by the Plan. This procedure is called a

                                                                    15     “cram down.” The Plan Proponents will request that the Bankruptcy Court confirm the Plan in

                                                                    16     accordance with the cramdown provisions of section 1129(b) of the Bankruptcy Code if any class

                                                                    17     rejects the Plan.

                                                                    18              The Bankruptcy Court has set [INSERT DATE] at __:__ _.m. (Pacific Time) as the hearing

                                                                    19     date to determine whether the Plan has been accepted by the requisite number of Creditors and

                                                                    20     whether the other requirements for confirmation of the Plan have been satisfied. The hearing on

                                                                    21     confirmation will be held at the United States Bankruptcy Court, 1300 Clay Street, Courtroom 201,

                                                                    22     Oakland, California 94612. This hearing may be continued from time to time and day to day

                                                                    23     without further notice. If the Bankruptcy Court confirms the Plan, it will enter the Order of

                                                                    24     Confirmation. Any objections to confirmation of the Plan must be in writing and must be filed with

                                                                    25     the Clerk of the Bankruptcy Court and served on the parties set forth below on or before the date set

                                                                    26     forth in the Notice of Confirmation Hearing sent to you with this Disclosure Statement and Plan.

                                                                    27     Objections must be served upon:

                                                                    28


                                                                           DOCS_SF:101744.3 82168/001                        5
                                                                         Case: 17-10065        Doc# 462    Filed: 08/20/19       Entered: 08/20/19 15:06:48      Page 5 of
                                                                                                                        32
                                                                     1                                           Counsel to the Plan Proponents

                                                                     2                                                   John D. Fiero
                                                                                                               Pachulski Stang Ziehl & Jones LLP
                                                                     3                                          150 California Street, 15th Floor
                                                                                                                 San Francisco, CA 94111-4500
                                                                     4
                                                                                                                                   and
                                                                     5
                                                                                                                Office of the United States Trustee
                                                                     6                                  450 Golden Gate Avenue, 5th Floor, Suite #05-0153
                                                                                                                    San Francisco, CA 94102
                                                                     7

                                                                     8              E.       Disclaimers

                                                                     9              THIS DOCUMENT CONTAINS INFORMATION WHICH MAY BEAR UPON YOUR

                                                                    10     DECISION TO ACCEPT OR REJECT THE PLAN. PLEASE READ THIS DOCUMENT WITH

                                                                    11     CARE. THIS DOCUMENT IS INTENDED TO PROVIDE “ADEQUATE INFORMATION” OF A
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12     KIND, AND IN SUFFICIENT DETAIL, AS FAR AS IS REASONABLY PRACTICABLE IN
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13     LIGHT OF THE NATURE AND HISTORY OF THE DEBTORS AND THE CONDITION OF
                                            ATTORNEYS AT LAW




                                                                    14     THE DEBTORS’ BOOKS AND RECORDS, THAT WOULD ENABLE A HYPOTHETICAL

                                                                    15     REASONABLE INVESTOR TYPICAL OF HOLDERS OF CLAIMS OR INTERESTS OF THE

                                                                    16     RELEVANT CLASS TO MAKE AN INFORMED JUDGMENT CONCERNING THE PLAN.

                                                                    17     SEE 11 U.S.C. § 1125(a).

                                                                    18              THE CONTENTS OF THIS DOCUMENT SHOULD NOT BE CONSTRUED AS LEGAL,

                                                                    19     BUSINESS OR TAX ADVICE. EACH CREDITOR OR INTEREST HOLDER SHOULD

                                                                    20     CONSULT HIS OR HER OWN LEGAL COUNSEL AND ACCOUNTANT AS TO LEGAL, TAX

                                                                    21     AND OTHER MATTERS CONCERNING HIS OR HER CLAIM OR INTEREST.

                                                                    22                                                   ARTICLE II

                                                                    23              A.       History of the Debtors, Their Operations, and the Bankruptcy Cases

                                                                    24              The Debtors operated a Napa Valley winery known as Sullivan Vineyards. SVP, formerly

                                                                    25     known as Sullivan Vineyards Partnership, is a California general partnership formed in 1987 to own

                                                                    26     the vineyard property, commonly known as 1090 Galleron Road, Rutherford, California (“Winery

                                                                    27     Property”). SVC, formerly known as Sullivan Vineyards Corporation, is a California corporation

                                                                    28     also formed in 1987 to own and operate the winery on the Winery Property. Although operated as a


                                                                           DOCS_SF:101744.3 82168/001                          6
                                                                         Case: 17-10065        Doc# 462      Filed: 08/20/19       Entered: 08/20/19 15:06:48   Page 6 of
                                                                                                                          32
                                                                     1     single business, the Debtors used a parallel partnership and corporation structure, with SVP owning

                                                                     2     the land and SVC owning the winery business. Notwithstanding the convention of separating the

                                                                     3     winery into two entities, the winery was operated as a single business operation known as Sullivan

                                                                     4     Vineyards.

                                                                     5              Sullivan Vineyards was a family business started by Joanna Sullivan and James O’Neil

                                                                     6     Sullivan, husband and wife, together with their five children. In or about 2011, an individual named

                                                                     7     Stephen A. Finn (“Finn”) married Sullivan daughter Kelleen Sullivan (“Kelleen”) and acquired an

                                                                     8     ownership interest in the Debtors. Through an entity called Winery Rehabilitation LLC (“WR”),

                                                                     9     Finn later acquired from Silicon Valley Bank a first deed of trust on the Winery Property, together

                                                                    10     with liens on related personal property, securing an indebtedness in excess of $10 million. Finn also

                                                                    11     obtained a junior lien on the Debtors’ assets, referred to as the “Grid Note,” purportedly securing an
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12     indebtedness in excess of $4.6 million.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13              Kelleen and Finn’s marriage ended in a divorce proceeding and related litigation across two
                                            ATTORNEYS AT LAW




                                                                    14     states, whereby Kelleen was awarded Finn’s interest in the Debtors’ business in lieu of other

                                                                    15     consideration. WR began foreclosure proceedings. The Sullivans filed this bankruptcy case to deal

                                                                    16     with the “debt” to Finn, and pay him off to the extent such debt was enforceable. Eventually, a

                                                                    17     chapter 11 trustee (Timothy Hoffman) was appointed.

                                                                    18              The Sullivan Family owns 100% of SVP and the vast majority of the equity in the SVC.

                                                                    19                       1.         Procedural Background

                                                                    20              On February 1 and 2, 2017, SVC and SVP, respectively, filed voluntary petitions for relief in

                                                                    21     the United States Bankruptcy Court for the Northern District of California, Santa Rosa Division

                                                                    22     under the provisions of chapter 11 of the Bankruptcy Code, Case Nos. 17-10065 RLE and 17-10067

                                                                    23     RLE. The Bankruptcy Cases, which are jointly administered but not substantively consolidated, are

                                                                    24     pending before the Honorable Roger L. Efremsky in the Oakland Division.

                                                                    25              At a hearing on August 21, 2017, the Court ordered the appointment of a chapter 11 trustee.

                                                                    26     Thereafter, the Office of the United States Trustee selected the Trustee to be chapter 11 trustee of

                                                                    27     both Estates. On August 29, 2017, the Court entered an order approving the Trustee’s appointment.

                                                                    28


                                                                           DOCS_SF:101744.3 82168/001                            7
                                                                         Case: 17-10065           Doc# 462     Filed: 08/20/19       Entered: 08/20/19 15:06:48   Page 7 of
                                                                                                                            32
                                                                     1              On November 10, 2017, the Trustee filed his Motion to Sell Real and Personal Property

                                                                     2     Assets Free and Clear of Liens and Encumbrances [Docket No. 234] (“Sale Motion”), by which the

                                                                     3     Trustee sold to Vite USA, Inc. substantially all of the Debtors’ real and personal property assets

                                                                     4     related to the winery. The Bankruptcy Court granted the Sale Motion at a hearing on December 11,

                                                                     5     2017. On January 10, 2018, the sale closed. In connection with the closing of the sale, Finn and

                                                                     6     WR (together, the “Finn Creditors”) were paid total consideration of $17,798,405.20, which sum

                                                                     7     included $2,647,833.70 of attorneys’ fees and other costs, in addition to principal and interest.

                                                                     8              Recently, Mr. Hoffman announced his intention to resign from the SVP case. A new trustee

                                                                     9     is expected to be appointed shortly.

                                                                    10                       2.         Notable Claims against the Debtors

                                                                    11              Three notable categories of non-trade debt claims were filed or scheduled in the Bankruptcy
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12     Cases, summarized below.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13              Finn Claims. Following the Court-approved sale of the winery, the Finn Creditors amended
                                            ATTORNEYS AT LAW




                                                                    14     their proofs of claim against the Debtors to assert claims for indemnification of attorneys’ fees and

                                                                    15     expenses in the amounts of $516,097.44 (Finn) and $247,970.82 (WR), together with other

                                                                    16     unliquidated amounts that have been or may be incurred in the District Court Action (defined below)

                                                                    17     or in these Bankruptcy Cases (together, the “Finn Claims”). The Finn Claims, as amended, are

                                                                    18     based upon, inter alia, indemnification provisions in SVC’s bylaws, an indemnification agreement

                                                                    19     between SVC and Finn, and the terms of the Finn Creditors’ loan documents. The Finn Creditors

                                                                    20     have indicated an intention to further amend their claims to include additional accruing attorneys’

                                                                    21     fees. All such claims are disputed by the Plan Proponents, and treated as Disputed Claims under this

                                                                    22     Plan.

                                                                    23              Former Employee Claims. Five former SVC employees filed proofs of claim against SVC

                                                                    24     totaling $9,055,560: Angelica de Vere ($3,822,060), Theresa Sullivan ($1,717,000), Sonyia Grabski

                                                                    25     ($2,019,500), Elizabeth Matulich ($1,012,000), and Trinity Scott ($485,000) (collectively, the

                                                                    26     “Former Employees” or “Former Employee Claims” as applicable). The Former Employee Claims

                                                                    27     were based upon a pending lawsuit that the Former Employees filed prepetition against Ross and

                                                                    28     Kelleen (together, the “Sullivans”) and SVC in Napa County Superior Court, defined below as the


                                                                           DOCS_SF:101744.3 82168/001                            8
                                                                         Case: 17-10065           Doc# 462     Filed: 08/20/19       Entered: 08/20/19 15:06:48   Page 8 of
                                                                                                                            32
                                                                     1     “Napa County Action.” The Former Employee Claims were withdrawn with prejudice as part of the

                                                                     2     Court-approved settlement discussed below.

                                                                     3              SVP Intercompany Pre-Petition Receivable. SVC’s bankruptcy schedules listed SVP as

                                                                     4     holding an undisputed, liquidated and non-contingent general unsecured claim against SVC in the

                                                                     5     amount of $2,130,720 (“SVP Pre-Petition Intercompany Receivable”). After review and

                                                                     6     consultation with the Trustee’s Court-approved accountant, Mr. Hoffman determined that

                                                                     7     $1,572,160 of this scheduled claim was a liability of SVC that had been previously paid through

                                                                     8     escrow in connection with the sale of the winery. Mr. Hoffman also determined the appropriate

                                                                     9     amount of the SVP Pre-Petition Intercompany Receivable to be $508,560. After careful review, the

                                                                    10     Plan Proponents determined that this amount excluded unpaid rent due to SVP from SVC for

                                                                    11     January 2017 in the amount of $30,000.00. As a result, under the Plan, the amount of the SVP Pre-
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12     Petition Intercompany Receivable shall be revised to $538,560, which amount shall be deemed
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13     Allowed for all purposes under this Plan, and no longer subject to objection or challenge of any type
                                            ATTORNEYS AT LAW




                                                                    14     after Confirmation. The balance of the SVP Pre-Petition Intercompany Receivable, in the amount of

                                                                    15     $1,622,160, shall be deemed disallowed with prejudice.

                                                                    16                       3.         Litigations Affecting the Estates

                                                                    17              During the Bankruptcy Cases, there have been three pending lawsuits involving the Estates

                                                                    18     or otherwise affecting the Estates. Only one of these lawsuits, the District Court Action (as defined

                                                                    19     below), remains pending.

                                                                    20              Adversary Proceeding. The Debtors filed the first action, SVC v. Finn, A.P. No. 17-01023

                                                                    21     (“Adversary Proceeding”) in the Bankruptcy Court against Finn and Angelica de Vere (“de Vere”).

                                                                    22     The Adversary Proceeding asserted claims against Finn and de Vere for alleged breaches of

                                                                    23     fiduciary duty while Finn was a partner of SVP and a controlling shareholder of SVC, and de Vere

                                                                    24     was an officer of SVC. In January of 2019, the Adversary Proceeding was reassigned to the United

                                                                    25     States District Court for the Northern District of California, San Francisco Division (“District

                                                                    26     Court”) for consideration together with the District Court Action (discussed below). In June of

                                                                    27     2019, in accordance with the terms of the Court-approved settlement discussed below, the parties

                                                                    28     stipulated to dismiss Adversary Proceeding with prejudice.


                                                                           DOCS_SF:101744.3 82168/001                             9
                                                                         Case: 17-10065           Doc# 462      Filed: 08/20/19       Entered: 08/20/19 15:06:48   Page 9 of
                                                                                                                             32
                                                                     1            District Court Action. The Sullivans commenced the second action, Sullivan v. Finn, Case

                                                                     2   No. 3:17-cv-05799-WHO (“District Court Action”), in the District Court against Finn and Trust

                                                                     3   Company of America, Inc., a company controlled by Finn. The Estates are not parties to the District

                                                                     4   Court Action. The District Court Action asserts claims against Finn for breach of fiduciary duty

                                                                     5   related to his role as a partner of SVP and controlling shareholder of SVC. The District Court

                                                                     6   Action remains pending. However, as mentioned, the Finn Claims seek indemnification of

                                                                     7   attorneys’ fees and costs incurred in connection with the District Court Action (among other things).

                                                                     8   Thus, the outcome of the District Court Action may affect the size of the Finn Claims.

                                                                     9            Napa County Action. The Former Employees filed the third action, De Vere, et al. v.

                                                                    10   Sullivan Vineyards Corp., et al., Case No. 26-67976 (“Napa County Action”), against the Sullivans

                                                                    11   and SVC in Napa County Superior Court. The Former Employees’ complaint asserted a variety of
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   claims, including labor code violations, wrongful termination and breach of contract. SVC, in turn,
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   filed a cross-complaint against de Vere. The Napa County Action was dismissed as part of the
                                            ATTORNEYS AT LAW




                                                                    14   Court-approved settlement discussed below.

                                                                    15                     4.         Court-Approved Settlement with Finn Creditors and Former Employees

                                                                    16            Following the sale of the Debtors’ assets, Timothy Hoffman devoted substantial time and

                                                                    17   effort to reaching a global settlement involving all principal parties in these cases, i.e., the Finn

                                                                    18   Creditors, the Former Employees and the Sullivans, including a resolution of any non-derivative

                                                                    19   claims the Sullivans assert against the Finn Parties. Unfortunately, a global resolution was not

                                                                    20   possible. However, the Trustee did negotiate a settlement involving the Finn Creditors and the

                                                                    21   Former Employees. The Sullivan Family was not a party to the settlement, and the Sullivan

                                                                    22   Family’s non-derivative claims, i.e., those claims, if any, that the Sullivan Family members hold

                                                                    23   individually against the Finn Creditors, were not compromised or resolved.

                                                                    24            The terms of the settlement agreement, entered into among the Trustee (on behalf of the

                                                                    25   Estates), the Finn Parties and the Former Employees, are as follows:

                                                                    26                    The Former Employee Claims were withdrawn with prejudice; the Napa County

                                                                    27                     Action (including SVC’s cross-complaint against de Vere) was dismissed with

                                                                    28                     prejudice, and certain claims against members of the Sullivan Family were dismissed


                                                                         DOCS_SF:101744.3 82168/001                        10
                                                                     Case: 17-10065         Doc# 462        Filed: 08/20/19 Entered: 08/20/19 15:06:48          Page 10 of
                                                                                                                         32
                                                                     1                     without prejudice. The Trustee and the Former Employees executed a release of any

                                                                     2                     and all claims against each other, including a waiver of § 1542 of the California Civil

                                                                     3                     Code, with each side bearing its own attorneys’ fees and costs.

                                                                     4                    The Finn Claims were subordinated to all trade debt claims reflected in the Debtors’

                                                                     5                     respective schedules, together with those trade debt claims reflected in proofs of

                                                                     6                     claim currently on file with the Bankruptcy Court (to the extent such Claims are

                                                                     7                     Allowed). Finn agreed to undertake full responsibility to completely resolve the

                                                                     8                     Former Employee Claims without increasing the Finn Claims, i.e., Finn agreed he

                                                                     9                     would not seek indemnification for sums paid to resolve the Former Employee

                                                                    10                     Claims, or expenses incurred in resolving these claims. However, the Finn Claims

                                                                    11                     were not subordinated to the SVP Pre-Petition Intercompany Receivable, and all
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                     rights concerning the SVP Pre-Petition Intercompany Receivable were reserved at
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                     that time. Moreover, the Finn Claims were not liquidated by the settlement
                                            ATTORNEYS AT LAW




                                                                    14                     agreement, and all rights concerning the Finn Claims (including the objections to

                                                                    15                     such claims filed by the Sullivans) were reserved.

                                                                    16                    The Trustee, on behalf of the Estates, agreed to dismiss the Adversary Proceeding

                                                                    17                     with prejudice. The Trustee further agreed to execute a release of any and all claims

                                                                    18                     against the Finn Creditors and Former Employees, including a waiver of § 1542 of

                                                                    19                     the California Civil Code. However, as mentioned, any claims held directly and

                                                                    20                     exclusively by the Sullivans as individuals were not released as part of the

                                                                    21                     settlement.

                                                                    22            On or about April 3, 2019, the Trustee filed an application [Docket No. 422] (“Compromise

                                                                    23   Application”) for approval of the settlement. On May 20, 2019, following a hearing on the

                                                                    24   Compromise Application, the Bankruptcy Court entered an order [Docket No. 435] (“Compromise

                                                                    25   Order”) approving the Compromise Application and settlement. The Compromise Order is now a

                                                                    26   Final Order.

                                                                    27   //

                                                                    28   //


                                                                         DOCS_SF:101744.3 82168/001                      11
                                                                     Case: 17-10065         Doc# 462      Filed: 08/20/19 Entered: 08/20/19 15:06:48           Page 11 of
                                                                                                                       32
                                                                     1                     5.         Assets and Liabilities of the Debtors

                                                                     2            The Estates’ assets consist primarily of Estate Retained Claims and cash proceeds from the

                                                                     3   sale of the winery. The primary Estate Retained Claim is SVC’s claim against the law firm of

                                                                     4   Buchalter LLP (“Buchalter”) based upon professional negligence and breach of fiduciary duty.

                                                                     5   Buchalter first provided legal services to Finn, as one of his divorce attorneys. Later (but still prior

                                                                     6   to bankruptcy), Buchalter provided legal services to SVC and SVP. Buchalter later served as

                                                                     7   counsel of record to the Former Employees in connection with the Bankruptcy Cases. After

                                                                     8   Buchalter’s disqualification in the Napa Superior Court, the Trustee moved to disqualify Buchalter

                                                                     9   in the bankruptcy case as counsel of record to the Former Employees based upon Buchalter’s prior

                                                                    10   representation of the Debtors. Buchalter did not oppose the motion, and on June 26, 2018, the Court

                                                                    11   entered an order [Docket No. 366] disqualifying Buchalter as counsel to the Former Employees.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12            With respect to the Estates’ cash, the Plan establishes an allocation of the remaining sale
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   proceeds between the Estates as follows: SVC’s estate is entitled to approximately $__________,
                                            ATTORNEYS AT LAW




                                                                    14   and SVP’s estate is entitled to approximately $______________.2 These amounts, net of all

                                                                    15   Allowed Administrative Claims to be paid, constitute Available Cash under the Plan, and will be

                                                                    16   administered by the Reorganized Debtors in accordance with the Plan.

                                                                    17                                                     ARTICLE III

                                                                    18                                                    DEFINITIONS

                                                                    19            As used in the Plan, the following terms shall have the meanings specified below:

                                                                    20            “Administrative Claim” means a Claim for any cost or expense of administration of a kind

                                                                    21   specified in Section 503(b) of the Bankruptcy Code, including any actual and necessary costs and

                                                                    22   expenses of preserving the Estates incurred on or after the Petition Dates and through and including

                                                                    23   the Confirmation Date, any cure amounts that must be paid in connection with the assumption of any

                                                                    24   executory contract or unexpired lease of the Debtors under Section 365 of the Bankruptcy Code, fees

                                                                    25   due to the United States Trustee pursuant to 28 U.S.C. § 1930(a)(6), and compensation for legal or

                                                                    26

                                                                    27

                                                                    28   2
                                                                           The updated and precise amounts in this sentence will be inserted when the Disclosure Statement has been approved,
                                                                         with input from each chapter 11 trustee herein.

                                                                         DOCS_SF:101744.3 82168/001                         12
                                                                     Case: 17-10065         Doc# 462         Filed: 08/20/19 Entered: 08/20/19 15:06:48                  Page 12 of
                                                                                                                          32
                                                                     1   other services and reimbursement of expenses allowed by the Bankruptcy Court under Sections 330

                                                                     2   and 331 of the Bankruptcy Code or otherwise.

                                                                     3            “Administrative Claims Bar Date” means, with the exception of any Administrative Claims

                                                                     4   of Professionals, that date which is thirty (30) days following the date of the notice of the

                                                                     5   Confirmation Date.

                                                                     6            “Allowed” or “Allowed Amount” means the amount in which any Claim or Interest is

                                                                     7   allowed. Unless otherwise expressly required by the Bankruptcy Code or the Plan, the Allowed

                                                                     8   Amount of any Claim does not include interest on such Claim from or after the applicable Petition

                                                                     9   Date.

                                                                    10            “Allowed Administrative Claim” means all or any portion of an Administrative Claim that

                                                                    11   has either been Allowed by a Final Order or has not been objected to within the time period
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   established by the Plan or by an order of the Bankruptcy Court.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13            “Allowed Claim” means a Claim (a) in respect to which a proof of Claim has been filed with
                                            ATTORNEYS AT LAW




                                                                    14   the Bankruptcy Court before the applicable Claims Bar Date and to which no objection has been

                                                                    15   filed within the time fixed by the Plan or the Bankruptcy Court; (b) as to which no proof of Claim

                                                                    16   has been filed and which has been listed on Schedule D, E or F of the Debtors’ Schedules and is not

                                                                    17   listed as disputed, contingent, unliquidated or unknown as to amount, and to which no objection has

                                                                    18   been filed within the time fixed by the Plan or the Bankruptcy Court; or (c) which is Allowed by a

                                                                    19   Final Order. No Claim shall be considered an Allowed Claim if (1) an objection to the allowance

                                                                    20   thereof is interposed by a party in interest within the time fixed by the Plan or the Bankruptcy Court,

                                                                    21   and such objection has not been overruled by a Final Order, or (2) the Claim has already been

                                                                    22   satisfied. The Finn Claims are not Allowed Claims.

                                                                    23            “Allowed Interest” means the Allowed Interest of an Interest Holder.

                                                                    24            “Allowed Unsecured Claim” means any Allowed Claim that is not an Allowed Secured

                                                                    25   Claim, including the unsecured Claims of undersecured Creditors and Rejection Claims, but

                                                                    26   excluding Administrative Claims, Priority Claims and Tax Claims.

                                                                    27            “Available Cash” means any and all cash and cash equivalents owned or held by the

                                                                    28   Reorganized Debtors available for payment of Allowed Claims and Interests after payment of


                                                                         DOCS_SF:101744.3 82168/001                    13
                                                                     Case: 17-10065         Doc# 462    Filed: 08/20/19 Entered: 08/20/19 15:06:48            Page 13 of
                                                                                                                     32
                                                                     1   Allowed Administrative Claims, Allowed Tax Claims, Allowed Priority Claims, Allowed Secured

                                                                     2   Claims, and after reserving for all expenses incurred and anticipated to be incurred by the

                                                                     3   Reorganized Debtors after entry of the Order of Confirmation.

                                                                     4            “Bankruptcy Cases” or “Cases” means the bankruptcy cases commenced by the Debtors’

                                                                     5   filing with the Bankruptcy Court of voluntary petitions under Chapter 11 of the Bankruptcy Code,

                                                                     6   Case Nos. 17-10065 RLE and 17-10067 RLE.

                                                                     7            “Bankruptcy Code” means Title 11, United States Code, § 101, et seq. as in effect and

                                                                     8   applicable to the Case.

                                                                     9            “Bankruptcy Court” means the United States Bankruptcy Court for the Northern District of

                                                                    10   California, Oakland Division or such other court exercising jurisdiction over the Case.

                                                                    11            “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   28 U.S.C. § 2075, as amended, as applicable to the Bankruptcy Cases.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13            “Claim” means any (A) right to payment, whether or not such right is reduced to judgment,
                                            ATTORNEYS AT LAW




                                                                    14   liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

                                                                    15   equitable, secured, or unsecured; or (B) right to an equitable remedy for breach of performance if

                                                                    16   such breach gives rise to a right to payment, whether or not such right to an equitable remedy is

                                                                    17   reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or

                                                                    18   unsecured.

                                                                    19            “Claims Bar Date” means (a) with respect to claims other than those held by governmental

                                                                    20   units, June 1, 2017, and (b) with respect to claims held by governmental units, July 30, 2017, and (c)

                                                                    21   with respect to Rejection Claims, the Rejection Claims Bar Date.

                                                                    22            “Claims Objection Date” means the date that is two years after the Effective Date; provided,

                                                                    23   however, that the Claims Objection Date may be extended by the Bankruptcy Court for cause upon

                                                                    24   the ex parte motion of the Reorganized Debtors.

                                                                    25            “Confirmation” means the entry by the Bankruptcy Court of the Order of Confirmation.

                                                                    26            “Confirmation Date” means the date on which the Bankruptcy Court enters the Order of

                                                                    27   Confirmation.

                                                                    28   //


                                                                         DOCS_SF:101744.3 82168/001                    14
                                                                     Case: 17-10065         Doc# 462    Filed: 08/20/19 Entered: 08/20/19 15:06:48          Page 14 of
                                                                                                                     32
                                                                     1            “Confirmation Hearing” means the hearing held by the Bankruptcy Court on confirmation of

                                                                     2   the Plan as required by Section 1128(a) of the Bankruptcy Code.

                                                                     3            “Creditor” means any entity holding a Claim against either of the Debtors.

                                                                     4            “Debtors” means SVC, a California corporation, and SVP, a California limited partnership.

                                                                     5   Each individually is a “Debtor.”

                                                                     6            “Disputed Claim” means a Claim against the Debtor (a) as to which a proof of Claim has not

                                                                     7   been filed and that has been listed in the Debtor’s Schedules as disputed, contingent or unliquidated,

                                                                     8   or; (b) as to which an objection or adversary proceeding has been filed within the time fixed by the

                                                                     9   Bankruptcy Court and which objection or adversary proceeding has not been withdrawn or disposed

                                                                    10   of by a Final Order. The Finn Claims are Disputed Claims.

                                                                    11            “Distribution” means, as the context requires: (a) the cash to be provided under the Plan to
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   the holders of Allowed Claims and Allowed Interests; or (b) the payment, transfer, delivery or
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   deposit of cash to Creditors and Interest Holders pursuant to the Plan.
                                            ATTORNEYS AT LAW




                                                                    14            “Distribution Date” means any date on which a Distribution is made pursuant to the Plan.

                                                                    15            “Effective Date” means the fifteenth (15th) day following the Confirmation Date so long as

                                                                    16   the Order of Confirmation is not subject to a Court-ordered stay.

                                                                    17            “Estate Retained Claims” means all litigation claims held by the Estates, including any

                                                                    18   claims arising out of Bankruptcy Code Sections 502, 510, 541, 542, 543, 544, 545, 546, 547, 548,

                                                                    19   and 549, together with any claims sounding in contract, tort, equity or statute against any party,

                                                                    20   including any and all claims of either Debtor against Buchalter LLP and its constituent attorneys.

                                                                    21            “Estates” means the bankruptcy estates created by the commencement of the Bankruptcy

                                                                    22   Cases and comprised of the property described in Section 541 of the Bankruptcy Code.

                                                                    23            “Final Order” means an order entered on the docket by the Bankruptcy Court as to which no

                                                                    24   timely filed notice of appeal is pending within fourteen (14) days entry of such order; or, if such

                                                                    25   appeal is pending, for which no stay pending appeal has been issued.

                                                                    26            “Interest” means units or rights to units or any membership interest or other ownership

                                                                    27   interest held by any Person in either Debtor.

                                                                    28            “Interest Holder” means the holder of an Interest in either Debtor.


                                                                         DOCS_SF:101744.3 82168/001                    15
                                                                     Case: 17-10065         Doc# 462    Filed: 08/20/19 Entered: 08/20/19 15:06:48             Page 15 of
                                                                                                                     32
                                                                     1            “Legal Rate” means eighty-four hundredths percent (.84%) per annum, the interest rate

                                                                     2   allowed on judgments entered in federal courts pursuant to 28 U.S.C. § 1961(a), which is the weekly

                                                                     3   average 1-year constant maturity Treasury yield, as published by the Board of Governors of the

                                                                     4   Federal Reserve System, for the calendar week preceding the Petition Date.

                                                                     5            “Local Rules” means the Local Rules of the United States Bankruptcy Court for the Northern

                                                                     6   District of California, as amended, as applicable to the Bankruptcy Cases.

                                                                     7            “Order of Confirmation” means the order entered by the Bankruptcy Court approving and

                                                                     8   confirming the Plan in accordance with the provisions of chapter 11 of the Bankruptcy Code.

                                                                     9            “Person” shall have the meaning ascribed to it in the Bankruptcy Code.

                                                                    10            “Petition Date” means February 1, 2017 for SVC and February 2, 2017 for SVP, the dates on

                                                                    11   which each Debtor filed its voluntary petition under chapter 11, thereby initiating the Bankruptcy
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   Cases (and on which date relief was ordered in the Bankruptcy Cases). The dates together are the
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   “Petition Dates.”
                                            ATTORNEYS AT LAW




                                                                    14            “Plan Disbursement Account” shall mean the account containing Available Cash, which will

                                                                    15   be used for payment of Allowed Claims and Interests as set forth in the Plan.

                                                                    16            “Priority Claim” means any Allowed Claim entitled to priority pursuant to Section 507(a) of

                                                                    17   the Bankruptcy Code, but not including an Administrative Claim or a Tax Claim.

                                                                    18            “Professionals” means those professional persons or firms retained by any bankruptcy trustee

                                                                    19   or the Debtors pursuant to Section 330 of the Bankruptcy Code, and such other professionals whose

                                                                    20   employment prior to Confirmation is approved by order of the Bankruptcy Court, if any.

                                                                    21            “Pro Rata” means, with respect to any Distributions to be made to the holder of an Allowed

                                                                    22   Claim or Allowed Interest, the proportion that such Allowed Claim or Allowed Interest bears to the

                                                                    23   aggregate of all outstanding Allowed Claims or Allowed Interests in the same class.

                                                                    24            “Rejection Claim” means an Allowed Unsecured Claim arising from the rejection of an

                                                                    25   unexpired lease or executory contract pursuant to the Plan or pursuant to an order of the Bankruptcy

                                                                    26   Court.

                                                                    27            “Rejection Claims Bar Date” means the earlier of (a) thirty (30) days following the date of

                                                                    28   the notice of the Confirmation Date, or (b) thirty (30) days after the rejection date with respect to an


                                                                         DOCS_SF:101744.3 82168/001                    16
                                                                     Case: 17-10065         Doc# 462    Filed: 08/20/19 Entered: 08/20/19 15:06:48           Page 16 of
                                                                                                                     32
                                                                     1   executory contract or unexpired lease rejected before the Confirmation Date pursuant to a Final

                                                                     2   Order.

                                                                     3            “Reorganized Debtors” means the Debtors as reorganized under the Plan following

                                                                     4   Confirmation. Each individually is a “Reorganized Debtor.”

                                                                     5            “Reorganized Debtors Payment Cap” means $175,000 for SVC and $175,000 for SVP, taken

                                                                     6   from Available Cash, and to be made available as necessary upon Confirmation to the Reorganized

                                                                     7   Debtors for payment of expenses of post-Confirmation administration, including indemnity

                                                                     8   payments, professional fees, prosecution of Estate Retained Claims, objections to Claims, and other

                                                                     9   necessary post-Confirmation expenses.

                                                                    10            “Schedules” means the Debtors’ respective schedules of assets and liabilities consisting of

                                                                    11   Schedule “A” through “J” filed with the Bankruptcy Court pursuant to Section 521(a)(1) of the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   Bankruptcy Code and Bankruptcy Rule 1007(b), as may be amended at any time prior to
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   Distribution.
                                            ATTORNEYS AT LAW




                                                                    14            “Secured Claim” means a Claim secured by a lien, security interest, or other charge against

                                                                    15   or interest in property in which either Debtor has an interest or that is subject to setoff under Section

                                                                    16   553 of the Bankruptcy Code, to the extent of the value (as specified in the Plan, or if no value is

                                                                    17   specified, as determined in accordance with Section 506(a) of the Bankruptcy Code) of the interest

                                                                    18   of a holder of such Allowed Claim in either Debtor’s interest in such property or to the extent of the

                                                                    19   amount subject to such setoff, as the case may be.

                                                                    20            “Tax Claim” means any Allowed Claim against either Debtor entitled to priority pursuant to

                                                                    21   Section 507(a)(8) of the Bankruptcy Code.

                                                                    22            Any term used in the Plan that is not herein defined but is defined in the Bankruptcy Code or

                                                                    23   the Bankruptcy Rules shall have the meaning assigned to such term in the Bankruptcy Code or the

                                                                    24   Bankruptcy Rules.

                                                                    25                                                ARTICLE IV

                                                                    26                      DESIGNATION OF CLASSES OF CLAIMS AND INTERESTS

                                                                    27            The Allowed Claims against and Allowed Interests in the Debtors are designated and

                                                                    28   classified below for purposes of the Plan. Except to the extent that the Plan provides otherwise, a


                                                                         DOCS_SF:101744.3 82168/001                    17
                                                                     Case: 17-10065         Doc# 462    Filed: 08/20/19 Entered: 08/20/19 15:06:48             Page 17 of
                                                                                                                     32
                                                                     1   Claim or Interest that is properly includable in more than one class is classified in a particular class

                                                                     2   only to the extent that it qualifies within the description of that class, and is placed in a different

                                                                     3   class to the extent it qualifies within the description of such different class. Classes 1, 2, 3 and 4 are

                                                                     4   impaired under the Plan, and are entitled to vote on the Plan.

                                                                     5            4.1      Class 1 (Secured Claims of Finn and Winery Rehabilitation). Class 1 consists of all

                                                                     6   claims of the Finn Creditors to the extent such claims constitute perfected, secured and Allowed

                                                                     7   Claims.

                                                                     8            4.2      Class 2 (Trade Creditors). Class 2 consists of the Allowed Unsecured Claims of any

                                                                     9   creditors other than: (a) the Finn Creditors and (b) the SVP Intercompany Pre-Petition Receivable.

                                                                    10            4.3      Class 3 (Unsecured Claims of Non-Trade Unsecured Creditors). Class 3 consists of

                                                                    11   all Allowed Claims of non-trade unsecured Creditors. In particular, Class 3 is comprised of (a) the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   unsecured components of the Finn Claims; and (b) the SVP Intercompany Pre-Petition Receivable.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13            4.4      Class 4 (Interests in the Debtors). Class 4 consists of all Allowed Interests in the
                                            ATTORNEYS AT LAW




                                                                    14   Debtors, specifically including all equity interests in SVC and partnership interests in SVP.

                                                                    15                                                  ARTICLE V

                                                                    16          CLASSES OF CLAIMS AND INTERESTS NOT IMPAIRED UNDER THE PLAN

                                                                    17            All Classes are impaired under the Plan.

                                                                    18                                                  ARTICLE VI

                                                                    19                                TREATMENT OF UNCLASSIFIED CLAIMS

                                                                    20            Unclassified Claims shall be treated as follows:

                                                                    21            6.1      Allowed Administrative Claims. Except to the extent that the holder of a particular

                                                                    22   Administrative Claim has agreed to a different treatment of such Administrative Claim, each holder

                                                                    23   of an Allowed Administrative Claim shall be paid in cash, in full upon the later of (a) the Effective

                                                                    24   Date, and (b) the date when it becomes an Allowed Administrative Claim. Any request for

                                                                    25   allowance of an Administrative Claim pursuant to Section 503(a) of the Bankruptcy Code (including

                                                                    26   an estimation of expenses to be incurred after the Effective Date), other than Administrative Claims

                                                                    27   of any chapter 11 trustee or Professionals, must be filed on or before the Administrative Claims Bar

                                                                    28   Date or the holder of such Administrative Claim shall be forever barred from asserting such Claim or


                                                                         DOCS_SF:101744.3 82168/001                      18
                                                                     Case: 17-10065         Doc# 462      Filed: 08/20/19 Entered: 08/20/19 15:06:48             Page 18 of
                                                                                                                       32
                                                                     1   receiving any payment on account of such Claim. Allowance of professional fees and costs claimed

                                                                     2   by any chapter 11 trustee or Professionals accruing before the Confirmation Date shall remain

                                                                     3   subject to Bankruptcy Court approval pursuant to Section 330 of the Bankruptcy Code.

                                                                     4            6.2      Tax Claims. The holders of Allowed Claims entitled to priority under 11 U.S.C. §

                                                                     5   507(a)(8) (“Allowed Tax Claims”) will receive equal deferred cash payments, payable quarterly,

                                                                     6   commencing with an initial payment six months from the Effective Date, over a period not

                                                                     7   exceeding five (5) years after the date of assessment of each such claim, or the applicable Petition

                                                                     8   Date, whichever is sooner; provided however, that Allowed Tax Claims shall be paid in a manner

                                                                     9   not less favorable than the most favored nonpriority unsecured claim provided for by the Plan. The

                                                                    10   unpaid portion of any Allowed Tax Claim shall bear interest at the statutory rate. The Reorganized

                                                                    11   Debtors reserve the right to pay any Allowed Tax Claim in full at any time after the Effective Date.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                                                ARTICLE VII
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                             TREATMENT OF CLASSES OF CLAIMS AND
                                            ATTORNEYS AT LAW




                                                                                               INTERESTS THAT ARE IMPAIRED UNDER THE PLAN
                                                                    14

                                                                    15            7.1      Class 1 (Secured Claims of Finn and Winery Rehabilitation). Except to the extent

                                                                    16   that the holder of a particular Class 1 Claim agrees to a different treatment of such Claim, each

                                                                    17   holder of an Allowed Class 1 Claim shall be entitled to receive up to the full amount of its Allowed

                                                                    18   Secured Claim against each Debtor to the extent of Available Cash held by each Reorganized Debtor

                                                                    19   at the time of allowance. Until such payment is made, Class 1 Creditors holding Allowed Claims

                                                                    20   shall retain their liens, if any, on the Available Cash. If the Allowed Secured Claims of Class 1 are

                                                                    21   not paid in full from the Available Cash, any deficiency portion will be treated as a Class 3 claim.

                                                                    22   The Allowed Claims of a Class 1 Creditor shall be deemed fully perfected upon the Effective Date to

                                                                    23   the same extent as such liens existed prepetition, and Class 1 Creditors shall not be required to file

                                                                    24   financing statements or other documents to perfect and maintain the perfection of its security

                                                                    25   interests in the Available Cash, if any.

                                                                    26            7.2      Class 2 (Trade Creditors). Each holder of an Allowed Class 2 Claim shall be paid

                                                                    27   from Available Cash up to the full amount their Allowed Claims without interest, on the terms and

                                                                    28


                                                                         DOCS_SF:101744.3 82168/001                     19
                                                                     Case: 17-10065         Doc# 462     Filed: 08/20/19 Entered: 08/20/19 15:06:48           Page 19 of
                                                                                                                      32
                                                                     1   conditions set forth in Article VI below. Such payment shall be senior and prior to the satisfaction of

                                                                     2   any Class 1 or Class 3 Claim.

                                                                     3            7.3      Class 3 (Unsecured Claims of Non-Trade Unsecured Creditors). If Available Cash

                                                                     4   remains, each holder of an Allowed Class 3 Claim shall be paid Pro Rata from Available Cash up to

                                                                     5   the full amount their Allowed Claims without interest, on the terms and conditions set forth in

                                                                     6   Article VI below. Such payment shall be junior and subordinate to satisfaction of any Class 1 or 2

                                                                     7   Claim.

                                                                     8            7.4      Class 4 (Membership Interests in the Debtor). The existing membership interests in

                                                                     9   the Debtors shall be preserved without alteration, subject to the terms of this Plan.

                                                                    10                                               ARTICLE VIII

                                                                    11                                MEANS FOR IMPLEMENTATION OF THE PLAN
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12            8.1      Post-Confirmation Operations and Management of the Estate. From and after the
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   Effective Date, each Reorganized Debtor shall manage the assets of its Estate and shall have all of
                                            ATTORNEYS AT LAW




                                                                    14   the authority to act on behalf of such Estate and corresponding Debtor. Such management shall

                                                                    15   include, without limitation, (a) fulfilling the duties and obligations of the Estates under the Plan; (b)

                                                                    16   prosecuting the Estate Retained Claims utilizing business judgment, (c) abandoning any assets

                                                                    17   deemed to be burdensome or of inconsequential value to the Estates; (d) succeeding to all chapter 11

                                                                    18   trustees’ attorney/client privilege and work product protection in all respects; (e) taking possession

                                                                    19   of all documents (electronic or otherwise) relating to the chapter 11 administration of the Estates,

                                                                    20   including those subject to the attorney-client privilege; and (f) otherwise fully administering the

                                                                    21   Estates as required by the Plan, the Order of Confirmation, the Bankruptcy Code and the Bankruptcy

                                                                    22   Rules. Without limiting the foregoing, the Reorganized Debtors will have all of the rights and

                                                                    23   powers of an estate representative appointed pursuant to Section 1123(b)(3) of the Bankruptcy Code.

                                                                    24   Ross Sullivan shall serve as the President of SVC and serve as the chairman of its board of directors.

                                                                    25   Kelleen and Sean Sullivan shall serve as the other two board members of SVC. Ross Sullivan shall

                                                                    26   also be the managing general partner of SVP.

                                                                    27            8.2      Professional Compensation. The Reorganized Debtors shall be entitled to retain and

                                                                    28   compensate from Available Cash such professionals and other Persons as they deem fit. From and


                                                                         DOCS_SF:101744.3 82168/001                      20
                                                                     Case: 17-10065         Doc# 462      Filed: 08/20/19 Entered: 08/20/19 15:06:48             Page 20 of
                                                                                                                       32
                                                                     1   after the Effective Date, the Reorganized Debtors and all professionals employed by them may be

                                                                     2   paid 100% of their periodic invoices for post-confirmation services without prior approval of the

                                                                     3   Court, subject to the Reorganized Debtors Payment Cap.

                                                                     4            8.3      Indemnity. The Reorganized Debtors may indemnify their officers, directors, and

                                                                     5   partners (as applicable), and any professionals the Reorganized Debtors may retain from any and all

                                                                     6   claims, demands, lawsuits, charges, or expenses arising out of or relating to the performance of the

                                                                     7   Reorganized Debtors and any professionals under the Plan to the fullest extent allowed by the laws

                                                                     8   of the State of California up to the then available remaining amount of the Reorganized Debtors

                                                                     9   Payment Cap. For avoidance of doubt, such indemnity shall not extend to (i) any claims, demands,

                                                                    10   lawsuits, charges, or expenses arising out of or related to the District Court Action, or (ii) any claims

                                                                    11   based upon intentional or grossly negligent conduct.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12            8.4      Cap Increase. The Reorganized Debtors Payment Cap may only be increased by
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   Court order following 10 days’ notice by email to parties requesting post- Effective Date notice in
                                            ATTORNEYS AT LAW




                                                                    14   the Cases with an opportunity to object. If no objection is received during the 10-day notice period,

                                                                    15   the Reorganized Debtors may apply ex parte to the Court for an order authorizing the proposed

                                                                    16   increase to the Reorganized Debtors Payment Cap. If an objection is received during the 10-day

                                                                    17   notice period, the Reorganized Debtors must set the matter for hearing before the Bankruptcy Court

                                                                    18   on at least 7 days’ notice to the objecting party.

                                                                    19            8.5      Replacement of Trustee. Upon the Effective Date, any trustee for the Estates shall be

                                                                    20   immediately relieved of all responsibilities pursuant to the order authorizing the trustee’s

                                                                    21   appointment.

                                                                    22            8.6      Delivery of Assets and Records to Reorganized Debtors. Promptly upon the

                                                                    23   Effective Date, any trustee for the Estates shall deliver to the Reorganized Debtors all of the books

                                                                    24   and records of the Debtors, including but not limited to all materials gathered or used during the

                                                                    25   pendency of the Bankruptcy Cases, whether maintained by any trustee, trustee’s counsel, or any

                                                                    26   other Professionals, specifically including but not limited to privileged communications with

                                                                    27   Professionals or any work product of any chapter 11 trustee or his Professionals, pursuant to

                                                                    28   Bankruptcy Code section 1141(b).


                                                                         DOCS_SF:101744.3 82168/001                     21
                                                                     Case: 17-10065         Doc# 462     Filed: 08/20/19 Entered: 08/20/19 15:06:48           Page 21 of
                                                                                                                      32
                                                                     1            8.7      Plan Disbursement Account. The Reorganized Debtors shall hold any funds

                                                                     2   transmitted to them in a segregated Plan Disbursement Account for the benefit of holders of Allowed

                                                                     3   Claims. The Plan Disbursement Account containing the Available Cash shall be maintained by

                                                                     4   Pachulski Stang Ziehl & Jones in client trust accounts established for that purpose. Consistent with

                                                                     5   the terms of the Plan, the Available Cash therein – net of all Administrative Expenses to be paid

                                                                     6   under the Plan, and net of all expenses of the Reorganized Debtors (subject to the Reorganized

                                                                     7   Debtors Payment Cap) – will be made available for the satisfaction of Allowed Class 1, 2, 3, and 4

                                                                     8   Claims as dictated by the Plan. Under no circumstances shall the Reorganized Debtors use the

                                                                     9   Available Cash for any other purpose, unless the Reorganized Debtors Payment Cap is increased as

                                                                    10   provided herein.

                                                                    11            8.8      Timing of Distributions. The Reorganized Debtors shall make a first Distribution to
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   holders of Allowed Claims as soon as practicable after the Effective Date. Thereafter, the
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   Reorganized Debtors shall make subsequent Distributions in their discretion and business judgment.
                                            ATTORNEYS AT LAW




                                                                    14   Distributions may be made without further order of Court. The Reorganized Debtors shall provide

                                                                    15   an accounting of Distributions within 30 days of written request by any Creditor holding an Allowed

                                                                    16   Claim.

                                                                    17            8.9      Distribution Addresses. Unless a Creditor has provided the Reorganized Debtors

                                                                    18   with written notice of a different address, Distributions will be sent to Creditors at the address set

                                                                    19   forth in the proofs of Claim filed with the Bankruptcy Court. If no proof of Claim is filed with

                                                                    20   respect to a particular Claim, the Distribution will be mailed to the address set forth in the Schedules.

                                                                    21            8.10     Withholding Taxes. Pursuant to Section 346(h) of the Bankruptcy Code, the

                                                                    22   Reorganized Debtors shall be entitled to deduct any federal, state or local withholding taxes from

                                                                    23   any cash payments made with respect to Allowed Claims, as appropriate. The Reorganized Debtors

                                                                    24   shall be permitted to withhold a Distribution to any Creditor that has not provided information

                                                                    25   requested by the Reorganized Debtors for the purpose of fulfilling his or her obligations hereunder.

                                                                    26   The Reorganized Debtors shall comply with all reporting obligations imposed on them by any

                                                                    27   governmental unit with respect to withholding and related taxes.

                                                                    28   //


                                                                         DOCS_SF:101744.3 82168/001                     22
                                                                     Case: 17-10065         Doc# 462     Filed: 08/20/19 Entered: 08/20/19 15:06:48            Page 22 of
                                                                                                                      32
                                                                     1            8.11     De Minimis Distributions. Notwithstanding any other provision of the Plan,

                                                                     2   Distributions of less than $50.00 need not be made on account of any Allowed Claim or Allowed

                                                                     3   Interest; provided that Distributions that would otherwise be made but for this provision shall carry

                                                                     4   over until the next Distribution Date until the cumulative amount to which any holder of an Allowed

                                                                     5   Claim or Allowed Interest is entitled to more than $50.00, at which time the cumulative amount of

                                                                     6   such Distributions will be paid to such holder.

                                                                     7            8.12     Unclaimed Distributions. Any cash Distributions that remain unclaimed or un-

                                                                     8   negotiated for ninety (90) days following Distribution or are returned for reasons other than the

                                                                     9   absence of a current or correct address (unless a current or correct address cannot be determined

                                                                    10   after reasonable inquiry) shall become the property of the Estates and be considered Available Cash.

                                                                    11            8.13     Prosecution of the Estate Retained Claims. Any proceeds of the Estate Retained
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   Claims shall be paid into the Plan Disbursement Account. The Reorganized Debtors shall have
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   exclusive standing to investigate, prosecute, and, if appropriate, compromise any Estate Retained
                                            ATTORNEYS AT LAW




                                                                    14   Claim against any Persons or entities. Any compromise of an Estate Retained Claim may be

                                                                    15   consummated without notice, hearing, or order of the Court, provided that the Reorganized Debtors

                                                                    16   shall provide 10 days’ notice of the terms of any compromise greater than $250,000 by email to all

                                                                    17   parties requesting post-Effective Date notice in the Cases with an opportunity to object. If no

                                                                    18   objection is received during the 10-day notice period, the Reorganized Debtors may consummate the

                                                                    19   compromise. If, however, a timely objection is received, then the Reorganized Debtors must set the

                                                                    20   matter for hearing on at least 10 days’ notice to the objecting party, in which case consummation of

                                                                    21   the compromise will be subject to entry of an order of the Bankruptcy Court approving the

                                                                    22   compromise. The Court will retain jurisdiction to approve any compromise.

                                                                    23            The Reorganized Debtors reserve the right to object to any filed or scheduled Claim, unless

                                                                    24   such Claim is Allowed by the Plan. For avoidance of doubt, the Finn Claims are not Allowed

                                                                    25   Claims under the Plan; the Finn Claims are Disputed Claims. Any and all Estate Retained Claims

                                                                    26   pending as of the Effective Date shall be deemed revested in the Reorganized Debtors, pursuant to

                                                                    27   Bankruptcy Code section 1141(b). Any and all objections to Claims and other contested matters by

                                                                    28   or against the Estates pending as of the Effective Date shall likewise be deemed revested in the


                                                                         DOCS_SF:101744.3 82168/001                     23
                                                                     Case: 17-10065         Doc# 462     Filed: 08/20/19 Entered: 08/20/19 15:06:48         Page 23 of
                                                                                                                      32
                                                                     1   Reorganized Debtors, along with possession of the documents (electronic or otherwise) relating to

                                                                     2   such objections or contested matters.

                                                                     3              8.14   Vesting of Property of the Estates. On the Effective Date, the Estates shall continue

                                                                     4   in their separate existences until entry of Final Decrees in the Cases, and all property of the Estates

                                                                     5   shall vest in the Reorganized Debtors pursuant to Bankruptcy Code section 1141(b), free and clear of

                                                                     6   any and all liens (except for Allowed Secured Claims), encumbrances, or Claims of Creditors.

                                                                     7   Revesting does not modify the nature of any contracts assumed by the Debtors or the any chapter 11

                                                                     8   trustee.

                                                                     9              8.15   Further Orders. Upon motion by the Reorganized Debtors on not less than ten (10)

                                                                    10   days’ notice to parties requesting post- Effective Date notice, the Bankruptcy Court may enter such

                                                                    11   other and further orders as may be necessary or appropriate to facilitate consummation of the Plan.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12              8.16   Insurance Policies. To the extent any insurance policies exist in which either the
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   Debtors and/or their personnel have an insurable or other interest in or right to make a claim, such
                                            ATTORNEYS AT LAW




                                                                    14   policies shall remain available, before and after the Effective Date, to satisfy any and all Claims held

                                                                    15   by, or asserted against, the Debtors, any chapter 11 trustee, the Reorganized Debtors, and/or the

                                                                    16   Debtors’ current or former management or other personnel that may be covered by such policies.

                                                                    17              8.17   Post-Confirmation Operating Expenses. From the Effective Date, the Reorganized

                                                                    18   Debtors may incur and pay operating expenses in the ordinary course of business, subject to the

                                                                    19   Reorganized Debtors’ Payment Cap.

                                                                    20              8.18   No Substantive Consolidation. This Plan does not effectuate substantive

                                                                    21   consolidation of the Estates. The Reorganized Debtors shall take no action that shall consolidate the

                                                                    22   Reorganized Debtors’ assets or liabilities prior to the issuance of a Final Decree.

                                                                    23              8.19   Post-Confirmation Reports, Fees, and Final Decree.

                                                                    24                     8.19.1     U.S. Trustee Fees. Not later than thirty (30) days after the end of each

                                                                    25   calendar quarter that ends after the Effective Date (including any fraction thereof), the Reorganized

                                                                    26   Debtors shall pay to the United States Trustee the quarterly fee for such quarter until the cases are

                                                                    27   converted, dismissed, or closed pursuant to a Final Decree, as required by 28 U.S.C. § 1930(a)(6).

                                                                    28   //


                                                                         DOCS_SF:101744.3 82168/001                       24
                                                                     Case: 17-10065         Doc# 462       Filed: 08/20/19 Entered: 08/20/19 15:06:48            Page 24 of
                                                                                                                        32
                                                                     1                     8.19.2     Post-Confirmation Reports. Not later than thirty (30) days after the end of

                                                                     2   the calendar quarter which ends after the Effective Date, the Reorganized Debtors shall file and

                                                                     3   serve upon the United States Trustee separate quarterly post-Confirmation status reports in

                                                                     4   substantially the form provided by the United States Trustee. Further reports shall be filed thirty

                                                                     5   (30) days after the end of every calendar quarter thereafter until entry of a Final Decree, unless

                                                                     6   otherwise ordered by the Bankruptcy Court.

                                                                     7                     8.19.3     Final Decree. Once the Plan is substantially consummated, the Reorganized

                                                                     8   Debtors shall file an application for a Final Decree in the Cases as provided in the Local Rules.

                                                                     9            8.20     Bankruptcy Rule 2004. In the course of any investigation, the Reorganized Debtors

                                                                    10   shall have the right post-Confirmation to apply for orders of examination under Bankruptcy Rule

                                                                    11   2004, to be enforced pursuant to Bankruptcy Rule 2005. The Bankruptcy Court (and its clerk’s
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   office) shall have the power to approve applications for orders of examination under Bankruptcy
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   Rule 2004, together with any enforcement orders necessary, including but not limited to pursuant to
                                            ATTORNEYS AT LAW




                                                                    14   Bankruptcy Rule 2005. Any expenses the Reorganized Debtors incur in connection with Rule 2004

                                                                    15   examinations, including the Reorganized Debtors’ attorneys’ fees and costs related to any Rule 2004

                                                                    16   examination, are subject to the Reorganized Debtors Payment Cap.

                                                                    17                                                  ARTICLE IX

                                                                    18                          EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                                                                    19            9.1      Assumption of Executory Contracts and Unexpired Leases. Any executory contracts

                                                                    20   of the Debtors which have not specifically been assumed shall be deemed rejected on the Effective

                                                                    21   Date.

                                                                    22            9.2      Effect of Assumption of Executory Contracts and Unexpired Leases. Any executory

                                                                    23   contracts assumed prior to Confirmation shall remain in full force and effect, be unimpaired by the

                                                                    24   Plan except as specifically modified by the Plan and the Order of Confirmation, and be binding on

                                                                    25   the parties thereto.

                                                                    26            9.3      Adding and Removing Executory Contracts and Unexpired Leases. The provisions of

                                                                    27   this Article IX may be amended, with appropriate notice to those parties in interest directly affected,

                                                                    28   at any time prior to the conclusion of the hearing on Confirmation of the Plan, to add or remove


                                                                         DOCS_SF:101744.3 82168/001                       25
                                                                     Case: 17-10065         Doc# 462       Filed: 08/20/19 Entered: 08/20/19 15:06:48           Page 25 of
                                                                                                                        32
                                                                     1   executory contracts and unexpired leases to be assumed, assumed and assigned, or rejected pursuant

                                                                     2   to the Plan.

                                                                     3            9.4      Defaults. Unless other treatment is agreed to between the parties to each assumed

                                                                     4   contract or lease, if there has been a default in an assumed executory contract or unexpired lease

                                                                     5   other than the kind specified in Section 365(b)(2) of the Bankruptcy Code, the Reorganized Debtors

                                                                     6   shall, on or before the Effective Date, (a) cure, or provide adequate assurance that they will promptly

                                                                     7   cure, any such default, (b) compensate, or provide adequate assurance that they will promptly

                                                                     8   compensate, the other party to such contract or lease, for any actual pecuniary loss to such party

                                                                     9   resulting from such default, and (c) provide adequate assurance of future performance under such

                                                                    10   contract or lease.

                                                                    11            9.5      Rejection Claims. Rejection Claims shall be classified as Class 2 Claims. The holder
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   of a Rejection Claim shall file with the Bankruptcy Court, and serve on counsel for the Reorganized
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   Debtors, a proof of Claim relative to such Rejection Claim on or before the Rejection Claims Bar
                                            ATTORNEYS AT LAW




                                                                    14   Date or be forever barred from asserting any such Claim or receiving any payment or other

                                                                    15   Distribution on account of such Claim.

                                                                    16                                                 ARTICLE X

                                                                    17                                   PROOFS OF CLAIM; OBJECTIONS

                                                                    18            10.1     Time for Filing Proofs of Claim. Proofs of Claim, when required, must be filed with

                                                                    19   the Bankruptcy Court no later than the applicable Claims Bar Date, or such Claims shall be

                                                                    20   conclusively deemed barred and disallowed by the Order of Confirmation.

                                                                    21            10.2     Evidence of Claim. For purposes of any Distribution under the Plan, the Reorganized

                                                                    22   Debtors shall have no obligation to recognize any transfer of Claims unless the transferee of such

                                                                    23   Claim shall pay a fee of $250.00 to the Reorganized Debtors. The Reorganized Debtors shall be

                                                                    24   entitled to recognize and deal for all purposes with only those Creditors of record with the

                                                                    25   Bankruptcy Court who have tendered such fee prior to the first Distribution Date.

                                                                    26            10.3     Amendments to Claims. Except as provided by the Plan or as otherwise permitted by

                                                                    27   the Bankruptcy Court, the Bankruptcy Rules or applicable law, upon expiration of the applicable

                                                                    28


                                                                         DOCS_SF:101744.3 82168/001                     26
                                                                     Case: 17-10065         Doc# 462     Filed: 08/20/19 Entered: 08/20/19 15:06:48          Page 26 of
                                                                                                                      32
                                                                     1   Claims Bar Date, proofs of Claim may not be filed or amended except for amendments to proofs of

                                                                     2   Claim to decrease the amount or priority thereof.

                                                                     3            10.4     Claim Objections. An objection to a Claim shall be filed no later than the Claims

                                                                     4   Objection Date. The Reorganized Debtors shall have the exclusive responsibility to review Claims

                                                                     5   filed against the Debtors, to file objections as appropriate, and to resolve Disputed Claims.

                                                                     6            10.5     Distributions. Notwithstanding any provision of the Plan specifying a date or time for

                                                                     7   payments or Distributions hereunder, payments and Distributions in respect of any Claim that at

                                                                     8   such date or time is a Disputed Claim, shall not be made until a Final Order with respect to an

                                                                     9   objection, estimation or valuation of such Claim is entered by the Bankruptcy Court, whereupon

                                                                    10   appropriate Distributions shall be made promptly in accordance with the terms of the Plan.

                                                                    11                                                 ARTICLE XI
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                                PRESERVATION OF RETAINED CLAIMS
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13            11.1     Confirmation of the Plan effects no settlement, compromise, waiver or release of any
                                            ATTORNEYS AT LAW




                                                                    14   Estate Retained Claim unless the Plan or Order of Confirmation specifically and unambiguously so

                                                                    15   provides. The failure of the Plan to refer to any particular Estate Retained Claim is not and shall not

                                                                    16   be construed as a settlement, compromise, waiver, or release of any such Estate Retained Claim. All

                                                                    17   Estate Retained Claims are hereby preserved and shall continue to remain valid after the Effective

                                                                    18   Date. The Reorganized Debtors further reserve the right to object to any filed or scheduled Claim.

                                                                    19   The entry of the Order of Confirmation shall not constitute res judicata or otherwise bar, estop or

                                                                    20   inhibit any actions by the Reorganized Debtors upon any Estate Retained Claims.

                                                                    21                                                 ARTICLE XII

                                                                    22                                     RETENTION OF JURISDICTION

                                                                    23            12.1     The Bankruptcy Court shall retain exclusive jurisdiction of the Cases (a) to enforce

                                                                    24   the provisions, purposes, and intent of the Plan, (b) to hear and determine any adversary proceedings

                                                                    25   or contested matters filed in or related to the Cases, including the Estate Retained Claims, (c) to hear

                                                                    26   and determine the allowance or disallowance of Claims, (d) to fix and approve allowance of

                                                                    27   compensation and other Administrative Claims, including, if appropriate, payments to be made in

                                                                    28   connection with the Plan, (e) to adjudicate controversies arising from the terms of the Plan, (f) to


                                                                         DOCS_SF:101744.3 82168/001                     27
                                                                     Case: 17-10065         Doc# 462     Filed: 08/20/19 Entered: 08/20/19 15:06:48           Page 27 of
                                                                                                                      32
                                                                     1   hear and determine any proposed modifications of or amendments to the Plan to the extent permitted

                                                                     2   by Section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, (g) to enforce or interpret the

                                                                     3   provisions of the Plan, the Order of Confirmation or any order entered by the Bankruptcy Court in

                                                                     4   the Cases, (h) to facilitate the consummation of the Plan, including without limitation (i) to consider

                                                                     5   such other matters as may be set forth in the Plan or the Order of Confirmation, (j) to hear and

                                                                     6   determine any Claim of any Persons of any nature whatsoever against any chapter 11 trustee, the

                                                                     7   Debtors, the Reorganized Debtors, any Professionals retained by the foregoing parties and/or the

                                                                     8   Debtors’ management, arising in or related to the Cases, (k) to issue Orders for Examination of any

                                                                     9   person or entity on Motion of the Reorganized Debtors, and (l) to enter Final Decrees closing the

                                                                    10   Cases. If closed, the Cases may be reopened at any time to facilitate the provisions of this Article.

                                                                    11                                               ARTICLE XIII
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                                EFFECT OF ORDER OF CONFIRMATION
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13            As of the Confirmation Date, the effect of the Order of Confirmation shall be as provided in
                                            ATTORNEYS AT LAW




                                                                    14   Section 1141 of the Bankruptcy Code, and as follows:

                                                                    15            13.1     Binding Effect of Plan. The provisions of the confirmed Plan shall bind the Debtors,

                                                                    16   the Reorganized Debtors, any chapter 11 trustee, any entity acquiring property under or otherwise

                                                                    17   accepting the benefits of the Plan, and every Creditor and Interest Holder, whether or not such

                                                                    18   Creditor or Interest Holder has filed a proof of Claim or Interest in the Bankruptcy Cases, whether or

                                                                    19   not the Claim or Interest of such Creditor or Interest Holder is impaired under the Plan, and whether

                                                                    20   or not such Creditor or Interest Holder has accepted or rejected the Plan.

                                                                    21            13.2     Full Satisfaction of Claims. Except as otherwise provided in the Plan and the Order

                                                                    22   of Confirmation, the rights afforded in the Plan shall constitute full and complete satisfaction and

                                                                    23   release of all Claims, including any interest accrued thereon from and after the Petition Date, against

                                                                    24   the Debtors, the Reorganized Debtors, the Estates, or any assets or property of the Debtors and the

                                                                    25   Estates. Except with respect to Administrative Claims, Rejection Claims, and Claims described in

                                                                    26   Bankruptcy Rule 3002(c)(3), the Order of Confirmation shall be deemed to be a Final Order

                                                                    27   disallowing any Claim not filed as of the Effective Date.

                                                                    28


                                                                         DOCS_SF:101744.3 82168/001                     28
                                                                     Case: 17-10065         Doc# 462     Filed: 08/20/19 Entered: 08/20/19 15:06:48          Page 28 of
                                                                                                                      32
                                                                     1            13.3     Injunction. From and after the Effective Date, all Persons who have held, currently

                                                                     2   hold or may hold a debt, Claim or Interest against the Estates, the Debtors, any chapter 11 trustee,

                                                                     3   the Reorganized Debtors, or their respective property, including property transferred pursuant to this

                                                                     4   Plan, are enjoined from taking any of the following actions on account of any such debt or Claim: (a)

                                                                     5   commencing or continuing in any manner any action or other proceeding against the Estates, the

                                                                     6   Debtors, any chapter 11 trustee, the Reorganized Debtors, or their respective property; (b)

                                                                     7   enforcing, attaching, collecting, or recovering in any manner any judgment, award, decree or other

                                                                     8   order against the Estates or the Debtors; (c) creating, perfecting or enforcing any lien or

                                                                     9   encumbrance against the Estates, the Debtors, or their respective property, including the property

                                                                    10   transferred pursuant to this Plan; (d) asserting any setoff, right of subrogation, or recoupment of any

                                                                    11   kind against any obligation due the Estates or the Debtors; and (e) commencing or continuing any
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   action, in any manner, in any place that does not comply with or is inconsistent with the provisions
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   of the Plan or the Order of Confirmation.
                                            ATTORNEYS AT LAW




                                                                    14            13.4     Limitation of Liability. On and after the Effective Date, neither the Debtors, the

                                                                    15   Sullivan Family, the Reorganized Debtors, nor any of their respective officers, members, managers,

                                                                    16   agents, employees or Professionals, shall have or incur any liability to any Person for any authorized

                                                                    17   act taken or omission made in good faith in connection with or related to the Bankruptcy Cases or

                                                                    18   the Estates, including objections to or estimations of Claims, the disposition of assets, or

                                                                    19   formulating, determining not to solicit acceptances or rejections to, or confirming the Plan, or any

                                                                    20   contract, instrument, release, or other agreement or document created in connection with the Plan.

                                                                    21                                                ARTICLE XIV

                                                                    22                                              MISCELLANEOUS

                                                                    23            14.1     Plan Interpretation. The headings contained in the Plan are for convenience of

                                                                    24   reference only and shall not limit or otherwise affect in any way the meaning or interpretation of the

                                                                    25   Plan. All references in the Plan to the singular shall be construed to include references to the plural

                                                                    26   and vice versa. All references in the Plan to any one of the masculine, feminine or neuter genders

                                                                    27   shall be deemed to include references to both other such genders. All exhibits attached to the Plan

                                                                    28   are, by this reference, hereby incorporated into the Plan. All references in the Plan to a Section or an


                                                                         DOCS_SF:101744.3 82168/001                      29
                                                                     Case: 17-10065         Doc# 462      Filed: 08/20/19 Entered: 08/20/19 15:06:48           Page 29 of
                                                                                                                       32
                                                                     1   Article shall mean the appropriately numbered Section or Article of the Plan. Whenever the Plan

                                                                     2   uses the term “including,” such reference shall be deemed to mean “including, but not limited to.”

                                                                     3            14.2     Modification. The Plan Proponents may propose amendments to or modifications of

                                                                     4   the Plan under Section 1127(a) of the Bankruptcy Code and Bankruptcy Rule 3019 at any time prior

                                                                     5   to the conclusion of the hearing on Confirmation of the Plan. After the Confirmation Date, the

                                                                     6   Reorganized Debtors may modify the Plan in accordance with Section 1127(b) of the Bankruptcy

                                                                     7   Code and Bankruptcy Rule 3019.

                                                                     8            14.3     Waiver. After the Confirmation Date, except as otherwise specifically set forth in the

                                                                     9   Plan, any term of the Plan may be waived only by the party or parties entitled to the benefit of the

                                                                    10   term to be waived.

                                                                    11            14.4     Reservation of Rights. Neither the filing of the Plan nor any statement or provision
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   contained in the Plan, nor the taking by any party in interest of any action with respect to the Plan,
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   shall (a) be or be deemed to be an admission against interest, and (b) until the Effective Date, be or
                                            ATTORNEYS AT LAW




                                                                    14   be deemed to be a waiver of any rights any party in interest may have (i) against any other party in

                                                                    15   interest, or (ii) in any of the assets of any other party in interest, and, until the Effective Date, all

                                                                    16   such rights are specifically reserved. In the event that the Plan is not confirmed or fails to become

                                                                    17   effective, neither the Plan nor any statement contained in the Plan or may be used or relied upon in

                                                                    18   any manner in any suit, action, proceeding or controversy within or without these Bankruptcy Cases

                                                                    19   except with respect to Confirmation of the Plan.

                                                                    20            14.5     Effectuating Documents and Further Transactions. Upon entry of the Order of

                                                                    21   Confirmation, any chapter 11 trustee and the Reorganized Debtors shall be authorized to execute,

                                                                    22   deliver, file or record such contracts, instruments, releases and other agreements or documents and to

                                                                    23   take such actions as may be reasonably necessary or appropriate to effectuate and further evidence

                                                                    24   the terms and conditions of the Plan.

                                                                    25            14.6     Post- Effective Date Notices. Except as otherwise provided in the Plan, upon and

                                                                    26   after the Effective Date, notices will be served only on the Office of the United States Trustee, the

                                                                    27   Reorganized Debtors, and those Persons who file with the Bankruptcy Court a request, which

                                                                    28   includes the Person’s name, address, telephone number and email address, that such Person receive


                                                                         DOCS_SF:101744.3 82168/001                     30
                                                                     Case: 17-10065         Doc# 462     Filed: 08/20/19 Entered: 08/20/19 15:06:48               Page 30 of
                                                                                                                      32
                                                                     1   notice of post- Effective Date matters. Persons who previously filed with the Bankruptcy Court

                                                                     2   requests for special notice of the proceedings and other filings in the Bankruptcy Cases will not

                                                                     3   receive notice of post- Effective Date matters unless such Persons file a new request in accordance

                                                                     4   with this Section.

                                                                     5            14.7     Reorganized Debtors May Seek Further Court Order. The Reorganized Debtors may

                                                                     6   apply to the Bankruptcy Court for any order as necessary to carry out the provisions of the Plan.

                                                                     7   Dated: August 20, 2019                     PACHULSKI STANG ZIEHL & JONES LLP

                                                                     8
                                                                                                                 By: /s/ John D. Fiero
                                                                     9                                              John D. Fiero
                                                                                                                    Attorneys for Equity Owners
                                                                    10
                                                                                                                    Ross Sullivan and Kelleen Sullivan
                                                                    11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13
                                            ATTORNEYS AT LAW




                                                                    14

                                                                    15

                                                                    16

                                                                    17

                                                                    18

                                                                    19

                                                                    20

                                                                    21

                                                                    22

                                                                    23

                                                                    24

                                                                    25

                                                                    26

                                                                    27

                                                                    28


                                                                         DOCS_SF:101744.3 82168/001                    31
                                                                     Case: 17-10065         Doc# 462    Filed: 08/20/19 Entered: 08/20/19 15:06:48          Page 31 of
                                                                                                                     32
                                                                     1                                 EXHIBIT 1 – LIQUIDATION ANALYSES
                                                                     2               To be filed as a supplement prior to the Disclosure Statement objection deadline,
                                                                     3                             after consultation with the chapter 11 trustees herein.

                                                                     4

                                                                     5

                                                                     6

                                                                     7

                                                                     8

                                                                     9

                                                                    10

                                                                    11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13
                                            ATTORNEYS AT LAW




                                                                    14

                                                                    15

                                                                    16

                                                                    17

                                                                    18

                                                                    19

                                                                    20

                                                                    21

                                                                    22

                                                                    23

                                                                    24

                                                                    25

                                                                    26

                                                                    27

                                                                    28


                                                                         DOCS_SF:101744.3 82168/001
                                                                     Case: 17-10065         Doc# 462    Filed: 08/20/19 Entered: 08/20/19 15:06:48           Page 32 of
                                                                                                                     32
